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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA
20-cr-188 (JSR)

-y-
ORDER

 

HAMID AKHAVAN & RUBEN WEIGAND,

Defendants.

JED S. RAKOFF, U.S.D.d.

The defendants’ motions for judgment of acquittal or, in the
alternative, for a new trial, ECF Nos. 259 & 300, are denied. The
Court will issue an opinion setting forth the reasons for this

ruling by July 2, 2021.

Dated: New York, NY Qa LA

June 18, 2021 JEB S. RAKOFF, U.S.D.d.

 
